               Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 1 of 27




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 7                               IN "I'1-IE SL]PERIOR COURT OF WASHINGTON
                                           1N AND I'OR KING COUNTY
 8
          JOHN MCCULLOUGH,
 9                                                    N0.
                                 Plaintiff,
10                                                    COMPLAINT FOR VIOLATIONS OF 15
                 vs.                                  U.S.C. § 1692 ET SEQ. AND RCW
11                                                    CHAPTER 19.16
          ASSET ACCEPTANCE, LLC, and
12        SUTTELL, HAMMER, & WHITE, P,S..,

13•                              Defendant.

14
                 COMES NOW Plaintiff John McCullough, by and through counsel, who alleges;
15
                                       I.     PARTIES AND JURISDICTION
16
                 1.       Plaintiff John McCullough is an individual who resides in King County,
17
          Washington Statc.
18
                 2.       Dcfendant Asset Acceptance, LLC ("Asset Acceptance"), a Delaware Limited
19
          LiabiIity.Company,.is a debt collector and collection agency doing business in Washington, and
20
          who repeatedly attcmptcd to coIlect an alleged debt from the Plaintiff Asset Acceptance's
211
          registered agent is Corporation, Secvice•Company; 300 Deschutes Way SW Suite 304, Tumwater,
22
          WA 98501.
23


                                                                                     ANDERSON LAW OF '
      I   Complaint - I                                                             KING COUNTY, PLLC
                                                                                          787 MAYNARD AVE S ,
                                                                                            SEAITLB wA 981 o4
                                                                               (206) 395-2665/F (206) 395-2719

                                                                                                   Exhibit A
                                                                                                   Page 1 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 2 of 27




 1              3.      Defendant Asset Acceptance first obEained their Washington State Collection

 2     Agency license on September 18; 2013

 3              4.      Defendant Suttell, Hammer, & White P:S: ("SHW") is a Washington State based

 4     law firrn who repeatedly attempted to-collect an!alleged debt from the Plaintiff. Its registered

 5     agent is Karl A. Weiss, 601 Union-Street Suite 2600, Seattle, WA 98101-2302:

 6              S.      Defendant SHW is also lcnown as Suttell & Hammer, P:S.

 7              6.      Defendant SHW first obtained their Washington State Collection Agency license

 8     on October 10, 2012.

 9              7.      Turisdiction over Defendants is proper as Defendants are doing business in

10     Washington State and all relevant actions occurred in King County; Washington

11                                                 H. FACTS

12              8.      In 2008, Defendants brought suit against Plaintiff in Snohomish County Superior

13     Court, case no. 08-2-07495-0 for an alleged debt (liereaffter referredlo as the "collection

i4     lawsuit"). No information about the debt was given in the complaint beyond a demand for

15     money.

16              9.      Allegedly, on or about June 8, 2008; an individual process server identified only

17.    as "B. Munro" executed an affidavit of service. See Exhibi! A. According to the affidavit, John

18     C. McCullough was served with the-collection lawsuit.by leaving a copy with his wife, Theresa

19     A. McCuilough at 23825 15"' Ave. S.E. #320, Bothell, WA 98021 in Snohomish County.

20              10.     The aforementioned affidavit could not possibly be correct, however, as neither

21     Plaintilf nor his wife ever resided at that address.

22              11.     Additionally, the aforementioned affidavit was executed in~a matter in which

23     "FIA. CARD SERVICES NA" was listed as the plaintiff, even thoughithe collection lawsuit was


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      I Complaint - 2                                                               IUNC COUNTY, PLLC
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                                                                                                  Page 2 of 27
                  Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 3 of 27




 1          captioncd in the name of Asset Acceptance, LLC.

 2                 12.      Accordingly, John C. McCullough, Plaintiff herein, never received-any notice of

 3          the collection Iawsuit.

 4                 13.      Nonetheless, Defendants pursued a.default judgment'in the collection lawsuit and

 S          obtained a judgment for $8,576.32 on October 30,.2008.

 6                  14.     In.support of the-moiion for default judgmcnt, Defendants submitted an affidavit,

 7          signed by an illegible name; purportedly from the•of6ce of Defendant Asset Acceptance, which

 8          stated that the account (the subject of the collection lawsuit) was "originally with

 9          WASHINGTON MUTUAL/ [sic]" and "lias been purchased by ASSET ACCEPTANCE, LLC."

10          The affidavit claimed $7,224.74 was "owing on the account." See Cxhibit B: The affidavit was

11          not iricorporated With the motion in any meaningful way, and was not referenced by declaration

12          or pleading. Furthermore, the affiant did ttot'identify Plaintiff, Plaintiff's wife, or any person at

13          all as the alleged obligor on the-account.

14                  15.     Also lumped into the-motion for default judgment (though not referenced by the

15          above affidavit or by any-deciaration or pleading) was a fuzzy copy of a single page of a

16          purported billing statement from Providian Processing Services to Mr. McCullough. See Exhibit

17          C. Also appended was a"Providian Financial" Account Agreement, which appears to have

18          applied to Providian National Bank Visa accounts:

19                  16.     The motion for default judgment also sought $650.00 in attorney's fees; despite

20          offering no authority for siicti an award of fees in that.amount.

2-1 ,               17.     After en.try ofthe:default judgment on October 30, 2008, no, action. occurred in the +

22      I
            collection lawsuit for nearly five years. Plaintiff was still unawareiofthe;existence of ihe

23 I lawsuit;


                                                                                            AND);RSON LAW OF I
        I   Complaint - 3                                                                  KiNG COUNTV, PLLC I
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                                                                                                        Page 3 of 27
             Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 4 of 27




 1             1-8.      In September 2013, Defendants submitted (in the collection lawsuit) a declaration

2       for writ of gai•nishineiit on a bank account, claiming "reason to believe" fhat John McCullough

 3      had an account at Bank of America in amounts "exceeding ihose exempt from garnishment by

 4      any state or federal law:" By this time, the judgment balance had allegedly reached $12,830.41.

 5      The declaration-corntained no certificate of.service upon.John McCullough.

 6             19.       In October 2013, Bank of America responded, stating that it held $4,865.86 on

 7      belialf of John McCalloiugh.

 8             20.       Over one month after Bank of America responded, on November 18, 2013, aii
                                                                                                                   i
 9      employee of SHW attested under penalty of perjury ihat on October 10, 2013, a certified copy of

10      the statutorily-required documents incident to garnishment were mailed to John McCullough at

11      1321 187a' CT NE, Redmond, WA 98172. See Exhibit D.

12             21.       On information and belief,.no?certired mail receipt was fi.led with the court.

13             22.       John McCullough has never lived at 1321 187a' CT NE, Redmond; WA 98172.

14             23.       Neveitheless, on December 2, 2013, Defendants sought disbursement of all of the '

15      funds held by Bank of America, and the imposition of $389.13 in costs against John

16      McCullough.

17             24.       Exactly one month later, on January 2, 2014, Defendants submitted a second

18      application for a barik garnishment, which included a declaration that "reason to believe" that

19      John McCullough liad an account at Bank of America in amounts "exceeding those exempt from
20 I
        garnishment by any state or federal law." See Exhibit E.

21             25.       On information and belief, no investigation was:done by Defendants which would

22      cause them to have any ,knowledge or belief that Bank of America would have additional

23 ~ nonexempt funds which would have been replenished over the course,of one month.


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       I Complaint - 4                                                                KING COUNTY, PL[:C
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                                                                                                    Exhibit A
                                                                                                    Page 4 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 5 of 27




 1            26.       Oti,January 30, 2014, Bank of America again responded to the garnishment,

2      stating that 'it held-$33.57 on behalf of John McCullough.

3             27.       Meanwhile; John McCullough vVas shocked to fnd that funds were missing from

4      his-account at Bank of Ariierica. Having still not been served with the-collection lawsuit, nor

 5     hQving been given any notice.at all regarding the existence of the collection lawsuit, John

 6.    McCullough was shocked that this could happen. I-Ie began contacting Bank of America to

 7     determirie why his funds vrere missing, and, unfortunately, the customer service representatives

 8     had rio explanation or ineaningful insight as to what had happened.

 9            28.       Although frustrated and upset, John McCullough did not know what to do about

10     his niissing nioney.

11            29.       The nezt action in the collection lawsuit was the filing of a declaration of rnailing

12     by a SHW etimployee. The declaration, signed under pcnalty of perjury on July 9, 2014, claimed

13     in passive voice that the required garnishment paperwork was sent to Mr. McCullough on

I4     January 24, 2014, nearly six months prior to the execution of the declaration. See Exhibit- F:

15     The declaration conspicuously did not state that the declarant had mailed the documents; any

16     basis for the dcclarant's knowiedge, nor that the declarant had any personal knowledge-at all.

17            30.       Along with the declaration (Exhibit r) a copy of the certified mail envelope was

18     filed with the court, although the return receipt was not filed. Instead, a USPS tracking page was

19     filed, showing that the:purported Januaiy 24, 2014 mailing was rejected for an insufficient

20     address in Redmond, Washington on January 25, 2014.

21            31:       The ultimate signatory,.on January 29, 2014, for the rejected mailing was a"Robb

22     Kristianson" whose name was bot6signed:and- indicated by a pre-made stamp. This person is

23     not known to Plaintiff:


                                                                                       ANDLRSON LAW OF
      I Complaint - 5                                                                 1dNG COUNTY, PLLC
                                                                                             767 MAYNARD AVE S
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                                                                                                      Exhibit A
                                                                                                      Page 5 of 27
                Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 6 of 27




 1             . 32.       On July 30, 2014, Defendants moved for a judgment atnd order to pay on the

 2        $33.57 held by Bank of America,.despite,tlie fact that the costs ($82.82) exceeded the-arriourit -

 3        that would:be received from the bank.

 4               33.       rurthermore, it would iiave been obvious that $33.57 would be below the

 5        exemption amount, had John McCullough been properly served with the notice of garnishment.

 6               34.       Defendants did obtain the judgment and order to pay on July 30, 2014.

 7               35.       In November 2014, Defendants sought and obtained a wage,garnishment. The

 8        garnishment ordered John McCullough's employer to withhold wages and remit to Defendants.

 9               36.       Defendants filed no eertiftcate of service for the wage garnishment, although they

10        listed Mr. McCullough's address•as being the Redmond address which was already rejected as an

11 ` invalid address.

12               37.       At some point in late December 2014 or early January 2015, John McCullough

13        was-notified by his own employer that his wages were being garnished. This was the first time

14        he was aware of the matter, and, finally being provided with a copy of the wage garnishment

15        (from his own employer), he was able to see the existence of the collection lawsuit, the case
     ,
16        number, and the parties tb the action.

17               38.       John McCullough repeatedly attempted to resolve the matter with Defendants but

18        was rebuffed at every oppolfiinity. I-ie was told that this was a"Washington Mutual account"

19        and that he needed to pay.

20               39.       Due to the garnishments described above, Defendants:have wrongfully taken

21        approximately $8,000 from John McCullough and this amount continues to rise.

22               40.       As a result of the Defendant's behavior detailed above, Plaintiffsuffered and

23        continue toisuffer financial uneertainty and unease, emotional distress, wrongfully increasing


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         I Complaint - 6                                                               1CiNC COUNTY, PLLC
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                                                                                                     Page 6 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 7 of 27




1     amounts allegedly owed due; and on information and belief, damaged credit;

2                                          1I1. CAUSES.OF ACTION

3                       GENERAL ALLEGATIONS APPLICABLE TO ALL.COUNTS

 4           41.       Witb respect lo the alleged debt, Plaintiff is a consamer as defiried by 15 U.S.C. §

 5    1692a(3) and Defendants are debt collectors as defined by 15 U.S.C. § 1692a(6).

 6           42.       With respect to tlie alleged debt, Plaintiff is a"debtor" as.defined by RCW

 7    19:16.100(11) and DefendAnts are a collection agency as defined by RCW 19.16.100(2).

8            43.       Defendants' actions in the colleetion lawsuit constitute aetionable debt collection.

 9    McCollough v. Johnson, Rodenburg, Lauirrger, LLC, 637 F.3d 939 (9tli Cir. 2011); Dorrohue v.

10    Quick Collect; Inc:, 592 F.3d 1027 (9th Cir. 2010).

11           44,       The discovery rule applies in FDCPA cases. Mangunr v. Action Collection Serv.,

12    Inc., 575 F.3d 935, 941 (9th Cir. 2009).

13                                             Counts I through XI

14           45.       A debt collector may not use any false, deceptive, or misleading representation or

15    means in connection with the collectioin of any debt. 15 U.S.C. § 1692e.

16           46:       Nearly all of Defendants' activities described above aire false, deceptive, and/or

17    misleadiiig; including but not limited to the following as separate and distinct violations:

18                 a: Improper service of a lawsuit on Plaintiff at an address where he has never..

19                     resided;

20                 b: Submitting a false and/or inaccurate affidavit of seiwice from a separately-

21                     captioned case with no ability to identify the actival affiant;

22                 c. Submitting a false and/or inaccurate affidavit (purportedly on behalf of Asset

23                     Acceptance, LLC) in support of tlie motion fot default judgment;


                                                                                          ANDERSON LAW OF
     ~ Complaint - 7                                                                     KING COUNTY, PLLC
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                                                                                                     Exhibit A
                                                                                                     Page 7 of 27
              Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 8 of 27




 1                   d. Claiming that Asset Acceptance purchased:the•account .from Washington Mutual;

 2                   e. Filing suit on an account which was not supported by any actual evidence that

 3                        7ohn McCullougli owed Asset Acceptance anything;

 4                   f. Filing suit on an account when the limited arnount of evidence showed variously
                                                                                                                        I
 5                        that the alleged obligation arose out of a Providian Bank account, bui which was

 6                        also represented as being owed to Washington Mutual, F1A Card S'ervices NA,

 7                        and Asset Acceptance;

.8                   g. Demanding $650.00 in attorney's fees in the motion for default judgment, despite

 9                        having established no entitlement to any fees, and/or those fees specifically;

10                   h. Failing to properly serve Plaintiff with garnishment paperwork on at least three

11                        separate occasions in violation of RCW 6.27.130(3) (requiring both i) an af£davit

12                        of service executed by llie pe►son making !he mailing and ii) attaching the return

13                        receipt or the mailing itself if returned undeliverable)

14                   i. Seeking garnislunent amounts in excess of the mandatory exemption amounts

15                        listed in RCW 6.15.010(1)(c)(ii)(A)(II) ($500 in bank accounts);

16                   j.   Seeking asecond garnishment from the Bank of America account and

17                        representing that there was "reason to believe" that there would be additional non-

18                        exempt funds in the account only 30 days afl;er the prior garnishment was

19                        conclilded; and

20                   k: Continuing to!pursue the second garnishment despite the obvious fact that doing

2-1'                      so would result in a net increase in the amount owed on the judgment, thus further

22 ,                      impoverishing Plairitiff.

23 '           47.        Defendants therefore violated 15 U.S.C. § 1692e, including but not limited to §


                                                                                           ANDCRSON LAW OR
       I Cbmplaint - 8                                                                    KIIYG COUIQTY, PLLC
                                                                                                787 Iv1AYT4ARD AVE S
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                                                                                     (206) 395-2665/F (206) 395-2719

                                                                                                        Exhibit A
                                                                                                        Page 8 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 9 of 27




 1    1692e(2), (5), and (10), 'in at least eleven (11) di fferent 'instances.

2                                            Counts•XII through XXI

3             48.      A debt collector tnay not use unfair or unconscionable means to collect or attcmpt

4     to collect any debt, including but not limited to, the collection of any amount (including any

 5    interest, fee, charge, or expense incidental to the principal obligation) unless such amount is

 6    expressly authorized by the agreement creating the debt or is permitted by law. 15 U.S.C. §

 7    1692f, f(1).

 8            49.      Plaintiff realleges paragrapli 46 as separate and distinct violations and causes of

9 I action.

10            50.      Defendants therefore violated 15 U.S.C. § 1692f in at least eleven (11) differelit

I1 I instances.

12                                                  Count XXII

13            51.      A debt collector may not engage in any.conduct the natural consequence of which

14    is to harass, oppress, or abuse riny person in eonnection witli the collection of a debt. 15 U.S:C.

15    § 1692d (emphasis added).

16            52.      Plaintiff realleges paragraph 46, all of which constitutes harassment and

17    oppression of Plaintiff.

18            53.      Defendants therefore violated 15 U.S.C. § 1692d.

19                                                COUNT XXIII

20            54.      Within five days after the initial communication with a consumer in connection

21    with the collection of any debt, a debt collector must send the consumer a written notice

22    contaiFiing, among other things, the:amount of the debt, the name of the creditor,, and several

23    statements requiired by law. 15 U.S.C. § 1692g(a).


                                                                                       ANDERSON LAW OF
     I Complaint - 9                                                                  1QNG COUNTY, PLLC
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                                                                                                     Page 9 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 10 of 27




 1           55.     Despite PlaintifP's repeated contacts with Defendants in and around December

2 ~ 2014 or January 2015, he never once received a single writing from Defendants, let alone a

 3    writing which contained this information.

4            56.     Defendants therefore violated 15 U.S.C. § 1692g(a):

 5                                            COUNT XXIV

 6           57.     llebt collectors must bring legal actions in the county in which a consumer resides

 7    or the county in which the consumer signed the contract sued upon. 15 U:S.C. § 1692i(a):

 8           58.     Johii McCullough never signed any agreement in Snohomish County, nor did

 9    John McCullough reside in Snohomish County at any time since 2007:

10           59.     Defendants therefore violated 15 U:S:C: § 1692i.

11                                                Count XXV

12           60.     RCW 19.16.250, through RCW 19.16.1•10 and RCW 19.16.260, reyuires that

13    collection agencies obtain licenses:

14      .    61.     Defendants initiated the collection lawsuit without having otained
                                                                                b       collection             I

15    ageney licenses.

16           62.     Defendants therefore violated RCW 19:16.250:

17                                                Count XXVI

18           63.     RCW 19.16.250(16) prohibits threats to take actions that cannot legolly be taken.

19           64.     As Defendants could not lawfully collect the alleged debt, or at least some

20    components thereof, Defendants therefore violated RCW 19.16:250(16).

21                                             Count XXVII

22           65.     The,provisions-of RCW 19.16.250(9) require Defendant to provide the

23    information mandated' by RCW 19.16.250(8)(c) in the initial communication through legal


                                                                                   ANDERSON LAW OF
     I Complaint - 10                                                             KING COUNTY, PLLC
                                                                                        787,MAYNARD AYC S
                                                                                          SBATTLE WA98104
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                                                                                               Exhibit A
                                                                                               Page 10 of 27
          Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 11 of 27




 1 1 process.

 2           66.      On infoimation and belief, the-summons and complaint Would have tieen the first

 3   communication to Plaintiff, although Plaintiff was never served with the collection lawsuit.

 4           67.      Defendants did not communicate the amount owing-on the original obligation,

 5   and in the complaint„stated nearly nothing of ineaning.

 6           68.      Defendants therefore violated RCW 19.16.250(9). In the alternative, if the

 7   summons and complaint were not the first communication, any prior communication did not

 8   contain this information and therefore violated RCW 19.16.250(8).

 9                                     Counts XXVIII through XXXI

10          69.       Violations ofRCW 19;16.250 are per se violations of the Consumer Protcction

11   Act, RCW chapter 19:86. See RCW 19.16.440. RCW 19.86.090 provides for treble damages (to

12   a liniit of $25,000) and attorney's fees.

13           70.      Plaintiff therefore realleges Counts XXV through XXVII as separate Consumer

14 I Protection Act violations.

15                                      IV: PRAYER FOR RELIEF

16           WIIEREFORE, Plaintiff prays:

17          71.       For Judgment against Defendant for actual dainages.

18          72.       For statutory damages of $1,000.00, per Defendant, for FDCPA violations.

19          73.       For statutory damages of $2,000.00 per violation, per Defendant, for Washington

20   Collection Agency Act and Consumer Protection Act violations.

21          74.       For treble damages, pursuant to-RCW 19.86.090, calculated.from the damages

22   determined by the court.

23


                                                                                  ANDERSON LAW OF
     Complaint - 11                                                              KING COUNTY, PLLC
                                                                                     787.MAYAIARD AVL' S
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                                                                                              Exhibit A
                                                                                              Page 11 of 27
            Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 12 of 27




 1             75.     ror costs and.rcasonable.attorney's fees as determined by the Court pursuant to

2       15 U.S.C. 1692k(a)(3) and/or RCW 19.86.090.

3
               Respectfully•submitted tliis lptfi day of Ivlarcli, 2015.
 4

 5
                                                       ANDERSON LAW-QF KING COUNTY, PLLC
 6

 7                                                     By:
                                                       Jason D. nderson, WSBA No. 38014
 8                                                     Atto     for John McCullough
                                                       787 aynariI Ave. S.
9                                                      S ttle, WA 98104
                                                        206)395-2665
10                                                     (206) 395-2719 (fax)

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       I Complaint - 12                                                            KING COtJNTY, PLLC
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       Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 13 of 27




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 11                 EXHIBIT A
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                                                          1QNG'COUNTY, PLLC
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   Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 14 of 27




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                     IN THE SUPERIOR COURT OF THE STATE OF WASHINOTON FOR
                                       SNOHOMIS}I COUNTY


        FIA CARD SERVICES NA                               PLAINTIFFS           NO.
                                                                                    08 2 0749.5 ~
                                                                            (AFFIDAVIT OF SERVICE)


    JOHN C MCCULLOUG}{
    THERESA A MCCULLOUGH                                   DFiFENDANTS

    STATE OPi WASHINOTON
    COUNTY OF: SNOHOMISH

    The undorslgned, being flrst duly swom, on oath deposes and says: That 1 am now and at all times hereln
    mentioned was a citizen of the Uniled States and resldont of the slate of Washinglon; over the age of
    eighteen years, noi a party of or Interested In ti:e above enlilted aclion ond compelent to be a witness
    therelin: That on lha 4lh day of June 2008, at 6:45 PM, et Iho address of. 23825 15i1, Ave. S. E. #320
    Bothell Wa 98021i 4vithinSnohomish county, Washington, I duly served:a suntmons and complalnt,
    nollce lo serviee members and Iltely dependants, iri the above entitled action upon: Theresa A
    McCullough, defendanl lherein_ nemedi by deilvering a tiva and correct copy and laavleg the saniewith;
    Theresa A McCullough. Tbat on lhe 4th day ofJune 2008, nt 6:45 PM, ut the address of: 23825
    1 St' Ave. S. L. #320 [3othell Wa, within Snohomish counly Washington, this aftiant duly served same as
    above, in the above entitled aclion upon: John C:McCullough,' defendant therein named, by delivering a
    irue and correcl copy for said.defendanl at bis residence by leaving wlth a person who claimed to be:
    Thereae A McCUllough, being a peraoa ofsullable ege and diacretion, residing therein. Afflant furiher
    states that I beileve that nelther ofeald defendanisare in the rnilitary service oftlie United States.


    SERVICE FEES:
    SERVICB:                  20.00
    MILEAOE:                  45:00                                W~
    AFF/PfOTARY:              12:00            Signed, swom to before me ihTs            June 2008
    SPECIAUOTHER:                                                  ~—
    TOTAL:                     77:00


                                                              Notary,pu c I ~ for
                                                              My appol  e      rol



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                                                                                                       Exhibit A
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     Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 15 of 27




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12                EXHIBIT B
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                                                         ANDERSON,LAW OF
                                                        KING COUNTY, PLLC
                                                              787MAYNARD AVE S
                                                                SEAYTLE WA 98104
                                                   (206) 395-2665/F (206);395-2719
                                                                    Exhibit A
                                                                    Page 15 of 27
     Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 16 of 27




                                                                                                    i   5-,$os
 STATE OF MICHIGAN                   )
                                     )      ss
COUNTY OFiMACOMB                     )
ASSET ACCEPTANCE, LLC                                         )
        Plaintiff,                                            )
                                                              )
vs                                                            ) ,
                                                              )       AFFIDAVIT
lOHN C MCCiA;LOUCiH                                           )
                                                   .          )
        Defendant,                                            )
                22e 4
        I, Nl1.c-                                 being.first duty sworn deposes and.states:

        Thet f ain the Supervisor of ASSET ACCEPTANCH, LLC a Limited Liability company organized and
existing under the Iaws of the State of Delaware and doing business at P.O: BOX 2041, WARRHN, MI 48090:
       That there ls justly due and owing on fhe account, ihe sum of $7224.74 representing the charged oft'
amount and interest:
        That the said-account originally wifh WASHINGTON MIJTUAV, account number 4031155000089901,
has been purchased by ASSET ACCEPTANCE, LLC, who now owns said account and has al1 rights connected
iherewiih including the ht
                        rigto instilute Ehis action.

Da           ih       of iy, 2008.

  7"7Supervisor
Subscribed and swornito before•me, a Notary Publie:for the State of Michigan, the 28th of July, 2008 as ccrtified
by my7iand ns set fonh imtnediately below.



Notary Public


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                                                                SEATTLC WA 98104
                                                   (206) 395`2665/F'(206) 395=2719 '

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                                                            ANDERSON.LAW OF
                                                           KiNG:COUNTX, PLLC
                                                                 787 MAYNARD AVE S
                                                                   SEATf LE WA 98104
                                                      (206) 395-2665/F (206) 395=2719
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  Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 20 of 27




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                        IN THE.SUPERIORhCOURT OF THE.STATE OF WASHINOTON
   7 I                          fN AND FOR THE NTY
                                               COU OF SNOHOMISH
   8          ASSET ACCEPTANCE LLC                         I
                                                 Plaintify, NO, 0$-2r07495-0
   9
             vs:
 10

 ►1          JO.FIN CMCCULLOUC3H                               DECLARATION OF MAILINO
             TI•fERESA A MCCULLOUGH
 12                                Defendant,

 13          BANK OF AMERICA
 14                                 Gainishec.Defendant.
                                                               s/h 137aoS.oa!
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                   I am an eniployee of Suttel) & Hammer and•declare and state as follows:
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 17.               I'am-over•the age bf twenty-ono years, not a party to the above entiiled proceeding

 ta        and competent to be ayfitneswthqrein.

19                 On 10-1043,.a certifled-copy,ditlie WRIT OF (}ARMSI-LivTENT, NO'17C1a OF

20         RIGHTSi EXEIyIPT1ON CI,AIM; and a,copy of the ORDER OF DEFAUI.T J,UD(3MENT
21         -was mailed to:                            '
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                   JOHN C MCCULLOUGH
23                 1321 18.7.th-CTNB
                   Redmond WA 98172
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             DECLAttATION MMAILING - I
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                                                                                                Exhibit A
                                                                                                Page 20 of 27
 Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 21 of 27




     i,         BANK.OF AMERICA
                DE5-024-02~08-
  Z I           WILMINGTON DE 19850
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                By plading sald doceunerits in•a sealed, envelbpe, with certified postago.
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                Deelarant fucthet states t}iat the foregoing:statements are true and.correct:to.ihe.best oP
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          her knowledge and befief, subjeet to pc'rjurylihder the laivs di the State ofWashitigton:
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                Datedc November, l8, 2013
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                                                                                       PO:Box C-9000fi
          'DBCL/~RAT!Ohf,OR MAILtNO - 2                                            BeeLEVUE, WA, 98009
           "                                      '                425-455-8220/425-453-3239,Fwc



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     Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 22 of 27




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                                                         ANDERSON LAW OF
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                                                                SEATTLE WA 98104
                                                   (206) 395-2665/F'(206) 395=2719
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                  TN THE SUPER]OR COURT OF THE STATE OF WASt?'IdbleTQltell a hamar,                       pt
 7                       1N AND FOR THE COUNTY OF SNOHOMISHTransaction Amamtt                                     $20.00

 s     ASSET ACCEPTANCE LLC
                                                        NO. 08-2-07495-0
 9                                         Plaintiff,
       vs.
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11     JOI-1N C MCCULLOUGH                              DECI,ARATION FOR GARN1SIdMENT
       THERESA A MCCULLOUGH
12
                                        Defendant;
11
       BANK OF AMERICA,                                 1i11 1s7a0s.onr
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                             Oamishee Defendant.
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      The undersigned declares and:states-as follows:
16          He or she is the attotney for plainti ff herein and makes this deciaration for the
      I.
17          purpose of having issued a Wril of Oarnishment.

Is    2.     Plaintiff has a judgment which-is wholiy or partiaily unsatisfied,}udgment dated
             October 30, 2008 in the amoun! of $8576,32 plu&post Judgment interest and any
19           post judgment.costs-and fees awarded by the court, less payments,for a balance
             due of $858$:95 as ofJanuary 2, 2014.
20
      3,     The plaintiff s+legal representative has reason to believe and does believe that the
21           garnlshee BANiC OF AMERICA, whoseiaddiess is DE5-024-02-08,
             WILMINGTON DE 19850; Is indebted to the defendant in amounts exceeding
22           those exempt from garnishment by any state or federal.law, or that the gamishee
21           has possession or control of property or effects belonging to theAefendant which
             are not exempted from garnishment by any state or federal (aw.
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                                                                              SUTTELL & HAMAdER; P.S:
                                                                                  PO BOXC-90006
                                                    4                        tiELLEVUE. WA,-98009
                                                                  425-455-8220/425-453-3239 FAx




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 Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 24 of 27




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               Peici di Marcek, WSBAA43094
 12            Samh.a. D#venp.Drti WSBA #45269
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     Case 2:15-cv-00614-JCC Document 1-1 Filed 04/17/15 Page 25 of 27




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     7                         IN ANDiFOR THE COUNTY OF SNOHOMISH
     8     ASSET ACCEPTANCE LLC                       .I
                                                           I N0. 08•2.07495=0
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                                              Plaintlff,
           vs.
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lt         JOHN C MCCULLOUaH                                DECI,ARATION OF MAILINC}
           THERESA A MCCULLOUGH
12
                                           Defendant,
!3
           BANK OF AMERICA
14
                                                            3/10318103.001
                                 Gamishee Defendant.
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                 I acn an employee orSuttell:& Hatnmer and declare and stale as follows:
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                 1 am over the age of twenty-one years, not a pany lo the above entitled proceeding
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         and competent lo be a witness thercin.
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         RIGI-lTS, EXEMPTION CLAIivI, and a copy of the ORDER OF DEFAULT JUDOMENT
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         was mailediio:
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                 JOHNiC'MCCULLOUGH
                 132. 1 187th cr NE
24               Redmond WA.98172

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          DECL•ARATIOtV_OF MAILfNG.- t                                                BELCEVIiE, WA, 98009
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